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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


CLINTON STRANGE,

               Plaintiff,
                                                     Case No. 2:19-cv-5064

       vs.                                           Chief Judge Algenon L. Marbley

                                                     Magistrate Judge Elizabeth P. Deavers

SHRI HARI GOMARKETIN LLC,

               Defendant.

                                               ORDER

        This matter came before the Court on August 11, 2021 for a telephonic status

conference. Plaintiff, who is proceeding pro se, and counsel for Defendant appeared and

participated in the conference.

       As discussed more fully during the conference, the parties agree that mediation might be

beneficial in this case now that the Court has ruled on the dispositive motion. Plaintiff, however,

directed the Court’s attention to a pending appeal in the Court of Appeals for the Sixth Circuit,

Lindenbaum v. Realgy, LLC, Case No. 20-4252 that could have ramifications in the instant

matter. The case was argued before Judges Gibbons, Stranch, and Bush on July 29, 2021. Under

the circumstances, and without objection from the parties, this case is STAYED pending

resolution of the Lindenbaum appeal. The parties are DIRECTED to file a STATUS REPORT

within FOURTEEN (14) DAYS of any decision by the Court of appeals in Lindenbaum. The

Court thereafter will reconvene the parties.
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           IT IS SO ORDERED.



                                    /s/ Elizabeth A. Preston Deavers______
DATED: August 12, 2021              ELIZABETH A. PRESTON DEAVERS
                                    UNITED STATES MAGISTRATE JUDGE
